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 8
                            IN THE UNITED STATES DISTRICT COURT
 9
                                     FOR THE DISTRICT OF ARIZONA
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11
12   Eugene Scalia,                                    Case No. CV-18-04756-PHX-GMS
      Secretary of Labor,
13    United States Department of Labor,
14                      Plaintiff,                     MEMORANDUM OF POINTS
                   v.                                  AND AUTHORITIES IN
15                                                     SUPPORT OF MOTION FOR
     Valley Wide Plastering Construction, Inc., dba    LEAVE TO FILE FIRST
16   Valley Wide Plastering, Inc., an Arizona          AMENDED COMPLAINT
     corporation; Jesus Guerrero, aka Jesse
17   Guerrero, an individual; Rose Guerrero, an
     individual; and Jesse Guerrero, Jr., aka J.R.
18   Guerrero, an individual,
19                      Defendants.
20
21                                         INTRODUCTION
22          Plaintiff Eugene Scalia, Secretary of Labor, United States Department of Labor
23   (“the Secretary”) submits this motion for leave to file a First Amended Complaint
24   identifying additional employees affected by the wage violations alleged in his original
25   Complaint, adding a factual allegation that Defendants employed workers off the books,
26   and adding John/Jane Does to the list of affected employees to account for this alleged
27   practice.
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 1          These amendments do not materially alter the scope of this case. In the original
 2   Complaint, the Secretary made clear that he alleges ongoing violations of the Fair Labor
 3   Standards Act, 29 U.S.C. § 201 et seq., and that the Secretary will seek relief on behalf
 4   of all employees affected by the alleged violations during the relevant time period. The
 5   proposed amendments identify additional employees who are encompassed within the
 6   scope of the original allegations, and clarifies that due to Defendants’ inaccurate
 7   recordkeeping, additional employees may be identified later. Because this Motion is
 8   filed in advance of the deadline for amending the pleadings and Defendants will not
 9   suffer any prejudice from the amendments, the Secretary respectfully requests that leave
10   be granted.
11                                       BACKGROUND
12          The Fair Labor Standards Act, 29 U.S.C. § 201 et seq., authorizes the United
13   States Secretary of Labor to investigate and bring enforcement actions on behalf of
14   employees who have been denied the federal minimum wage and overtime
15   compensation requirements of the Act. See 29 U.S.C. § 211(a), 216(c), 217. After an
16   investigation, the Secretary filed a complaint against Valley Wide Plastering, Inc. and its
17   individual owners, Jesus Guerrero, Rose Guerrero, and Jesse Guerrero, Jr., alleging,
18   among other things, that their business practices violate the FLSA because they do not
19   pay overtime to employees who work more than 40 hours per workweek. See Compl.,
20   Dkt. 1, ¶¶ 20-21, 23-24. The Complaint alleges that these violations have occurred since
21   October 2015 and are ongoing. Id. ¶¶ 20-21 (alleging that Defendants “continue to
22   violate” the overtime requirements of the Act). Although the Secretary included the
23   names of 768 affected employees in Exhibit A to the Complaint, the Secretary made
24   clear that he intended to seek relief on behalf of “all Defendants’ employees,” including
25   those identified in Exhibit A, and “all other employees later identified by the Secretary.”
26   Compl., Prayer for Relief, ¶ (b)(1).The Secretary sought the following remedies for the
27   affected employees: (1) an award of back wages and liquidated damages for the affected
28   employees under § 16(c) of the Act, 29 U.S.C. 216(c); or (2) if liquidated damages are
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 1   not awarded, an order requiring Defendants to pay back wages under § 17 of the Act, 29
 2   U.S.C. § 217. Compl, Prayer for Relief, ¶ (b).
 3          In this Motion, the Secretary seeks to supplement Exhibit A to the Complaint
 4   with the names of 442 more employees whom the Secretary has identified as being owed
 5   back wages and liquidated damages for violations that occurred from October 5, 2015
 6   through the present. Stearns Decl., ¶ This supplemental list includes 210 employees
 7   whom Valley Wide hired after the period covered by the Wage and Hour investigation,
 8   whose identities were unknown to the Secretary at the time the Complaint was filed.
 9   Stearns Decl. ¶ 3. Additionally, it includes 232 employees who were identified as
10   employees of Valley Wide during the investigation, but whom the Secretary only
11   recently determined should be included in the Complaint. Stearns Decl. ¶ 3. The
12   Secretary also seeks to add 390 John/Jane Does to the list to account for the employees
13   paid off the books whom the Secretary has not yet identified. Stearns Decl. ¶ 3.
14          The Secretary submits this Motion in advance of the deadline for amending the
15   pleadings and adding parties, which is October 23, 2019. Dkt. 27. Under the scheduling
16   order, discovery will remain open until July 2020. Dkt. 21. At the time of this filing,
17   Defendants have not yet served any discovery requests on the Secretary. Stearns Decl.
18   ¶ 4.
19                                        ARGUMENT
20          Under Rule 15 of the Federal Rules of Civil Procedure, leave to amend the
21   complaint should be “freely given when justice so requires.” Fed. R. Civ. P. 15(a)(2).
22   The Ninth Circuit has emphasized that this policy should be applied with “extreme
23   liberality.” Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048, 1051 (9th Cir. 2003).
24   “In general, a court should liberally allow a party to amend its pleading.” Sonoma Cty.
25   Ass'n of Retired Employees v. Sonoma Cty., 708 F.3d 1109, 1117 (9th Cir. 2013). Absent
26   “strong evidence” of prejudice to the opposing party, undue delay, bad faith, or a
27   dilatory motive, there is a presumption in favor of granting leave. See id. (citing Foman
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 1   v. Davis, 371 U.S. 178, 182 (1962)). “[T]he consideration of prejudice to the opposing
 2   party carries the greatest weight.” Eminence Capital, LLC., 316 F.3d at 1052.
 3            Here, the First Amended Complaint primarily serves to identify additional
 4   employees whom the Secretary alleges are entitled to back wages and liquidated
 5   damages as a result of the overtime violations alleged in the original Complaint. As the
 6   Ninth Circuit has recognized, it is “well-established” that the Secretary has the authority
 7   to seek back wages on behalf of individual employees under § 17 of the FLSA “without
 8   specifically naming employees in the complaint.” Donovan v. Crisostomo, 689 F. 2d
 9   869, 875 (9th Cir. 1982). Doing so is necessary, however, to satisfy the procedural
10   requirements for liquidated damages claims under § 16 (c), 29 U.S.C. § 16(c).
11   Specifically, § 16(c) provides that for purposes of the statutes of limitations, an action is
12   deemed commenced under that subsection on the date an employee is “specifically
13   named as a party plaintiff” in the complaint. 29 U.S.C. § 16(c). As interpreted by the
14   Ninth Circuit, this means that an employee must be specifically “named in the
15   complaint” or an equivalent pleading to toll the statute of limitations under § 16(c). See
16   Donovan, 689 F. 2d. at 875. 1 Thus, identifying employees in the complaint is “a
17   procedural requirement of section 16 but not section 17.” Brock v. Superior Care, Inc.,
18   840 F.2d 1054, 1063 (2d Cir. 1988); see also Hugler v. Kazu Constr., LLC, 262 F. Supp.
19   3d 1032, 1042 (D. Haw. 2017) (explaining the difference between claims brought under
20   § 17 and § 16(c)). The Secretary’s proposed amendment will ensure that the Secretary
21
22   1
       By contrast, courts have held that an action for back wages under § 17 is deemed
23   commenced on the date the original complaint is filed, regardless of whether individual
     employees are named. See Donovan, 689 F.2d at 875; E.E.O.C. v. Westinghouse Elec.
24   Corp., 725 F.2d 211, 221 (3d Cir. 1983) ( “An action commenced under Section 17 is
25   commenced for all purposes when the complaint is filed and the individual employees
     for whom relief is sought need not be named in the complaint.”), abrogated on other
26   grounds, Pub. Employees Ret. Sys. of Ohio v. Betts, 492 U.S. 158, 189 (1989); U.S.
     E.E.O.C. v. Elrod, 1986 WL 10374, at *3 (N.D. Ill. Sept. 12, 1986), on reconsideration
27
     in part sub nom. U.S. E.E.O.C. v. Cook Cty. Dep't of Corr., 1986 WL 13208 (N.D. Ill.
28   Nov. 19, 1986).
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 1   can seek any liquidated damages on behalf of the additional employees added to Exhibit
 2   A under § 16(c), and other employees whom the Secretary has not yet identified due to
 3   Defendants’ practice of paying workers off the books.
 4          Because discovery remains open and will not close until July 2020, Defendants
 5   cannot demonstrate any possible prejudice. See AZ Holding, L.L.C. v. Frederick, 2009
 6   WL 3063314, at *3 (D. Ariz. Sept. 22, 2009) (finding no prejudice, in part, because
 7   discovery was ongoing). If there is any need for additional discovery based on the
 8   proposed amendments, Defendants have ample time to conduct it. Indeed, Defendants
 9   have not yet served even a first set of discovery requests on the Secretary. Stearns Decl.
10   ¶ 4.
11          Moreover, the Secretary’s proposed amendments does not materially alter the
12   scope or substance of this case. Defendants were on notice from the original Complaint
13   that the Secretary intended to recover on behalf of all employees who have been
14   employed by Defendants since October 5, 2015, including the employees listed in
15   Exhibit A “and all other employees later identified by the Secretary.” Compl., Prayer for
16   Relief, ¶ (b), (c). The Secretary’s proposed amendments simply identify additional
17   employees whom the Secretary alleges were affected by Defendants’ alleged wage
18   violations during that period—and provides notice that the Secretary alleges additional
19   employees affected by these violations have yet to be identified. Finally, none of the
20   other Foman factors are present.
21                                       CONCLUSION
22          For the foregoing reasons, the Secretary requests that he be granted to leave to
23   file the First Amended Complaint.
24
                                                   Respectfully submitted,
25
26    Dated: October 23, 2019                      KATE S. O’SCANNLAIN
                                                   Solicitor of Labor
27
28                                                 JANET M. HEROLD
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 2                               CERTIFICATE OF SERVICE
 3                I hereby certify that on October 23, 2019, I electronically transmitted this
 4   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of
 5   Notice of Electronic Filing to the following CM/ECF registrants:
 6
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11
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13   Dated: October 23, 2019                                        /s/ Tara Stearns
14                                                                  Tara Stearns

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